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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

 Civil Action No. 1:18-cv-02330-RBJ-KMT

 EARL W. HERR,

         Plaintiff,

 v.

 CREDENCE RESOURCE MANAGEMENT, LLC,

         Defendant.


                MOTION FOR LEAVE TO APPEAR TELEPHONICALLY FOR
                       SCHEDULING/PLANNING CONFERENCE


         NOW comes EARL W. HERR (“Plaintiff”), by and through his attorneys, Sulaiman

 Law Group, Ltd. (“Sulaiman”), bringing this Motion for Leave to Appear Telephonically for

 Scheduling/Planning Conference, and in support states as follows:

      1. On September 20, 2018, this Honorable Court entered an Order setting the

         Scheduling/Planning Conference on November 6, 2018, 2018 at 9:15 a.m. in front

         of Magistrate Judge Kathleen M. Tafoya (“Judge Tafoya”) in Colorado Springs,

         Colorado [Dkt #8].

      2. Lead counsel for Plaintiff is located in Lombard, Illinois.

      3. As such, Plaintiff’s Counsel respectfully requests that this Court allow him to

         appear telephonically for the Scheduling/Planning Conference.

      4. Plaintiff, as a consumer, makes this request to avoid the expense of having local

         counsel travel and appear for this hearing. Since this case involves a single party

         consumer, deference should be given to keeping costs as low as possible.



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    5. Furthermore, Plaintiff’s lead counsel files cases throughout the United States, and

       as such, he regularly appears telephonically in front of Courts and is familiar with

       the process and appropriate decorum. He understands that appearing

       telephonically is no different than a physical appearance before the Judge. If this

       Motion is granted, Plaintiff’s lead counsel will ensure that he is fully prepared to

       attend this hearing via telephone. He can also provide this Court with his direct

       contact information.

    6. CREDENCE RESOURCE MANAGEMENT, LLC, (“Defendant”) has not been

       served with a copy of the complaint. As such, Plaintiff has not been able to confer

       with Defendant on this Motion before filing.

              WHEREFORE, EARL W. HERR, respectfully requests that this Honorable

       Court allow his counsel to appear telephonically for the Scheduling/Planning

       Conference.

       Dated: October 5, 2018             Respectfully submitted,

                                          s/ Alexander J. Taylor
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                                    CERTIFICATE OF SERVICE

               The undersigned hereby certifies that on October 5, 2018, a copy of the
    foregoing was filed electronically via CM/ECF with the United States District Court,
   District of Colorado, with notification being sent electronically to all counsel of record.


                                                    s/ Alexander J. Taylor
                                                    Alexander J. Taylor Esq. #6327679




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